       Case 3:22-cv-00178-SDD-SDJ            Document 237-2       02/13/24 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                               Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                       SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                               Defendant.


                [PROPOSED] ORDER GRANTING EXPEDITED BRIEFING

       Having considered Plaintiffs’ motion for expedited briefing, the Court HEREBY

ORDERS that the following schedule shall govern briefing on Plaintiffs’ motion for a special

election:

            a. February 13, 2024: Deadline for Plaintiffs’ motion for special election

            b. February 27, 2024: Deadline for Defendants’ response

            c. March 1, 2024: Deadline for Plaintiffs’ reply




        Signed in Baton Rouge, Louisiana, this ____ day of __________________, 2024.


                           ___________________________________
                                 Chief Judge Shelly D. Dick
